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                 IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

JOHN DOE,
    Plaintiff,

v.                                              Case No. ___________________

THE SAVANNAH COLLEGE OF
ART AND DESIGN, INC.
    Defendant.



  PLAINTIFF’S MOTION TO SEAL EVIDENCE SUPPORTING ITS
REPSONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        COME NOW Plaintiffs respectfully move the Court pursuant to Rule 5.2 of

the Federal Rules of Civil Procedure to file the following evidence supporting its

Response to Defendant’s Motion for Summary Judgment under seal:

     § The Declaration of John Doe;

     § Hearing Officer Decision; and

     § Sanctioning Officer Decision.

        Good cause exists to file these documents under seal. This Title IX civil action

involves sexual assault/rape allegations that are in dispute. The Declaration of John

Doe, as well as the decisions of both the hearing officer and sanctioning officer,

include the name of both the plaintiff-respondent and the complainant in the

underlying matter. Additionally, since release of the complainant and respondent’s
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names in any response documents would be violations of Title IX and FERPA, it

logically follows that the case should be initiated to protect the identity and education

records of the students in this matter.

      The Complainant has not consented to her name being in the public record,

and without access to the investigative file or records Plaintiff cannot possibly know

of any requests for anonymity by Complainant or any agreements for non-disclosure

of Complainant’s identity should a matter such as this arise. For the reasons listed

above, especially when coupled with the fact that all matters to date in this action

have not been a matter of public record, it is appropriate to initiate this case under a

pseudonym and file these items under seal.

      In light of the disputed findings against John Doe and the sensitive nature of

the underlying matter, Plaintiffs respectfully request permission to file the

Declaration of John Doe, the Hearing Officer and Sanctioning Officer under seal.

      Respectfully submitted this 5th day of January, 2023.

                                          /s/ Joseph J. Steffen, Jr.
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